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                            11       HILLAIR CAPITAL MANAGEMENT, LLC
                            12                                UNITED STATES BANKRUPTCY COURT

                            13                                 CENTRAL DISTRICT OF CALIFORNIA

                            14                                         LOS ANGELES DIVISION

                            15       In re                                     Lead Case No. 2:19-bk-14989-WB
                            16       SCOOBEEZ, INC., et al.                    Chapter 11
                            17                           Debtors and Debtors   (Jointly Administered with
                                                         in Possession.        Case Nos. 2:19-bk-14991; 2:19-bk-14997)
                            18
                            19       Affects:                                  STIPULATION BETWEEN THE DEBTORS
                                                                               AND HILLAIR CAPITAL MANAGEMENT
                            20               All Debtors                       FOR (1) AUTHORIZATION TO USE CASH
                                                                               COLLATERAL ON AN INTERIM BASIS;
                            21               SCOOBEEZ, INC., only              (2) APPOINTMENT OF A CHIEF
                                             SCOOBEEZ GLOBAL, INC.             RESTRUCTURING OFFICER
                            22
                                             only
                            23                                                 Hearing:
                                             SCOOBUR, LLC only                 Date:         May 14, 2019
                            24                                                 Time:         2:00 p.m.
                                                                               Place:        U.S. Bankruptcy Court
                            25                                                               Courtroom 1375
                                                                                             255 East Temple Street
                            26                                                               Los Angeles, CA 90012
                            27

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A PROFES SION AL CORPORA T ION                       STIPULATION FOR (1) AUTHORIZATION TO USE CASH COLLATERAL;
        LOS ANG EL ES
                                                        AND (2) APPOINTMENT OF A CHIEF RESTRUCTURING OFFICER
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                                 1   TO THE HONORABLE JULIA BRAND, UNITED STATES BANKRUPTCY JUDGE,
                                 2   THE DEBTORS, THEIR COUNSEL AND ALL PARTIES IN INTEREST:
                                 3           Hillair Capital Management LLC and Hillair Capital Advisors LLC, the general partner of
                                 4   Hillair Capital Investments LP (collectively, “Hillair”), on the one hand, and Scoobeez, Inc., a
                                 5   California corporation, debtor in the above-captioned chapter 11 bankruptcy case (“Scoobeez”),
                                 6   and its affiliated debtors, Scoobeez Global, Inc., an Idaho corporation (formerly known as ABT
                                 7   Holdings, Inc.) (“Scoobeez Global”) and Scoobur, LLC, a California limited liability company
                                 8   (“Scoobur”) (collectively, the “Debtors”), on the other hand, hereby enter into this Stipulation for
                                 9   (1) Authorization to Use Cash Collateral; and (2) Appointment of Chief Restructuring Officer as
                            10       follows.
                            11                                                   RECITALS
                            12               I.       The Debtors’ secured obligations to Hillair.
                            13               A.       On October 7, 2016, Scoobeez Global and Hillair entered into that certain
                            14       Securities Purchase Agreement (the “First SPA”). Under the First SPA, Scoobeez Global issued
                            15       to Hillair its 8% Senior Secured Convertible Debenture Due October 1, 2018 in the principal sum
                            16       of $5,800,000 due on October 1, 2018 (the “First Debenture”).
                            17               B.       On January 30, 2017, Scoobeez Global and Hillair entered into that certain
                            18       Securities Purchase Agreement (the “Second SPA”). Under the Second SPA, Scoobeez Global
                            19       issued to Hillair its 8% Senior Secured Convertible Debenture Due January 1, 2019 in the
                            20       principal sum of $8,584,000 (the “Second Debenture”) due on or before January 1, 2019 (the
                            21       “Maturity Date”). The Second Debenture includes the obligations of Scoobeez Global to Hillair
                            22       due under the First Debenture.
                            23               C.       On October 7, 2016, the Debtors entered into that certain Subsidiary Guarantee in
                            24       favor of Hillair. Under the Subsidiary Guarantee, Scoobeez and Scoobur, jointly and severally,
                            25       unconditionally guaranteed the repayment of Scoobeez Global’s obligations to Hillair. To secure
                            26       repayment of all obligations owing to Hillair, on October 7, 2016, the Debtors, jointly and
                            27       severally, executed a Security Agreement.
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                                 1           D.       The Security Agreement granted Hillair a security interest in substantially all of
                                 2   the assets of the Debtors, including cash, cash equivalents, accounts receivable and the proceeds
                                 3   thereof. Hillair duly perfected its security interest in the assets by filing UCC-1 financing
                                 4   statements as follows: (a) as to Scoobeez Global, a financing statement was filed with the Idaho
                                 5   Secretary of State on October 11, 2016, as File No. B-2016-1183112-1; (b) as to Scoobeez, a
                                 6   financing statement was filed with the California Secretary of State on October 11, 2016 as File
                                 7   No. 16-7550581531; (c) as to Scoobur, a financing statement was filed with the California
                                 8   Secretary of State on October 11, 2016 as file no. 16-7550581210. The First SPA, the First
                                 9   Debenture, the Second SPA, the Second Debenture, the Subsidiary Guarantee, the Security
                            10       Agreement and the UCC-1 Financing Statements are collectively referred to herein as the “Loan
                            11       Documents.”
                            12                II.     The Debtors file their chapter 11 bankruptcy cases.
                            13               E.       On April 30, 2019 (the “Petition Date”), the Debtors each filed their own voluntary
                            14       chapter 11 petitions thereby commencing the above-captioned chapter 11 bankruptcy case. On
                            15       May 1, 2019, at the hearing on the Debtors’ “first-day” motions seeking authorization (1) for the
                            16       Debtors’ interim use of cash collateral [Docket No. 13]; (2) to continue the maintenance of
                            17       existing bank accounts and cash management systems [Docket No. 7]; and (3) the payment of
                            18       prepetition wages and continuation of employee programs [Docket No. 8], the Court authorized
                            19       interim use of cash collateral though May 14, 2019, subject to further briefing and a further
                            20       hearing on the continued use of cash collateral.
                            21               NOW, THEREFORE, based upon the foregoing Recitals, and for good and valuable
                            22       consideration, the receipt and sufficiency of which are hereby acknowledged by the parties, and
                            23       the parties hereto intending to be legally bound hereby, by and through their respective attorneys
                            24       of record, hereby agree and stipulate as follows:
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A PROFES SION AL CORPORA T ION                       STIPULATION FOR (1) AUTHORIZATION TO USE CASH COLLATERAL;
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                                 1                                             AGREEMENT
                                 2           1.       Incorporation of Recitals.
                                 3                    1.1    The Recitals set forth above is incorporated herein by this reference and
                                 4   shall be deemed a material part of this Stipulation.
                                 5           2.       Prepetition Obligations and Security Interests.
                                 6                    2.1    Without prejudice to the rights of any other party until such time as a
                                 7   further order is entered granting continued use of cash collateral, the Debtors admit, stipulate and
                                 8   agree as follows:
                                 9                           (a)    Prepetition Obligations. As of the Petition Date, the Debtors were
                            10       obligated to Hillair for the obligations arising under or relating to the prepetition Loan Documents
                            11       (collectively, the “Prepetition Obligations”).         The Prepetition Obligations (a) were fully
                            12       accelerated, due and payable to Hillair; (b) constitute legal, valid, binding and enforceable
                            13       obligations of the Debtors, and (c) are not subject to any objection, offset, avoidance,
                            14       subordination or other claim or challenge of any nature under the Bankruptcy Code, any other
                            15       applicable law, contract or otherwise. Hillair alleges that the Debtors owe the aggregate principal
                            16       amount of $11,153,098.00, accrued interest in the amount of not less than $370,363.00, plus
                            17       additional interest, costs, fees and charges recoverable under the Loan Documents or by law.
                            18                               (b)    Prepetition Liens and Collateral.     As of the Petition Date, the
                            19       Prepetition Obligations were secured by certain liens and security interests in favor of Hillair (the
                            20       “Prepetition Liens”). The Prepetition Liens (a) encumber all of the Debtors’ right, title and
                            21       interest in assets described in the Loan Documents and existing as of the Petition Date including,
                            22       without limitation, all accounts, equipment, inventory, general intangibles and proceeds,
                            23       attachments and accessions to the foregoing (as previously defined, the “Collateral”), (b) secure
                            24       performance of the Prepetition Obligations pursuant to the Loan Documents, (c) constitute legal,
                            25       valid, enforceable, non-avoidable and duly perfected security interests and liens in and upon the
                            26       Collateral in favor of Hillair, (d) are not subject to any objection, offset, avoidance, subordination
                            27       or other claim or challenge of any nature by the Debtors under the Bankruptcy Code, any other
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A PROFES SION AL CORPORA T ION                       STIPULATION FOR (1) AUTHORIZATION TO USE CASH COLLATERAL;
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                                 1   applicable law, contract or otherwise, and (e) were granted by the Debtors for fair and sufficient
                                 2   consideration and reasonably equivalent value, contemporaneously with the making of the loans
                                 3   or commitments to make loans and other financial accommodations secured thereby. Pursuant to
                                 4   the Loan Documents, Hillair has a valid, perfected, and unavoidable security interest in the cash
                                 5   collateral, which includes, at a minimum, all “Cash Collateral” as that term is defined in
                                 6   Section 363(a) (collectively, the “Cash Collateral”). The Collateral includes the Debtors’ Cash
                                 7   Collateral.
                                 8                          (c)     No Claims Against Hillair. The Debtors have no valid claims (as
                                 9   such term is defined in section 101(5)) or causes of action against Hillair with respect to the Loan
                            10       Documents or the Prepetition Obligations, whether arising at law or at equity, including, without
                            11       limitation, any recharacterization, subordination, avoidance or other claims arising under or
                            12       pursuant to sections 105, 510, 541 or 542 through 553, inclusive.
                            13               3.       Authorization for Use of Cash Collateral.
                            14                        3.1   Request for Use of Cash Collateral. The Debtors have requested the use of
                            15       the Cash Collateral, and Hillair is willing to consent to such use of Cash Collateral upon the
                            16       admissions, agreements, terms and conditions contained in this Stipulation and the entry of an
                            17       order approving this Stipulation.
                            18                        3.2   Need for Use of Cash Collateral. The Debtors have an immediate need for
                            19       the use of Cash Collateral in order to permit, among other tasks, the orderly continuation of the
                            20       operation of their business, to minimize the disruption of their business operations, and to manage
                            21       and preserve the assets of their estates.
                            22                        3.3   Authorized Use of Cash Collateral. Subject to the terms and conditions of
                            23       this Stipulation, the Debtors shall only be entitled to use the Cash Collateral for payment of the
                            24       following expenses:
                            25                              (a)     “Authorized Expenses” comprising only the current necessary,
                            26       reasonable, and ordinary expenses of the Debtors actually incurred after the Petition Date as set
                            27       forth and not to exceed the amounts set forth in the weekly budget attached hereto as Exhibit “A”
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A PROFES SION AL CORPORA T ION                       STIPULATION FOR (1) AUTHORIZATION TO USE CASH COLLATERAL;
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                                 1   for the period from May 14, 2019 through June 7, 2019 and incorporated herein by this reference
                                 2   (the “Budget”), subject only to modification by express mutual consent of the parties in writing.
                                 3   The Debtors may not exceed any line item budget amount by a variance of 10% for each category
                                 4   line item in the Budget. Allowed amounts not paid by the Debtors in each budget category during
                                 5   each week may carry over to the next succeeding week only on a line item by line item basis.
                                 6                            (b)    An “Emergency Expense” comprising only that expense relating to
                                 7   an emergency which is not an Authorized Expense and for which it is not feasible to provide
                                 8   advance notice to Hillair and for which the Debtors and the Chief Restructuring Officer in good
                                 9   faith believe must be incurred immediately in order to mitigate damage to the Collateral or to
                            10       avoid (i) possible health and safety concerns, or (ii) damage or harm to the Collateral, not to
                            11       exceed the amount of $2,500 for any one particular expense. In each circumstance when the
                            12       Debtors has paid an Emergency Expense, the Debtors shall advise Hillair as soon as possible but
                            13       not later than the next business day, in writing by fax, the amount of the expenditure, the nature of
                            14       the emergency, and the reason that advance approval was not practical. If Hillair believes that
                            15       such expenditure or the amount thereof was not warranted under the circumstances, Hillair shall
                            16       be entitled to an ex parte hearing on forty-eight (48) hours’ notice regarding termination of this
                            17       Stipulation, prohibition of any further use of the Cash Collateral by Debtors, and other remedies
                            18       available to Hillair pursuant to this Stipulation, or by contract or law.
                            19                        3.4     Limitation on the Use of Cash Collateral. Notwithstanding any other term
                            20       to the contrary in this Stipulation, the Debtors shall not use the Cash Collateral after the date
                            21       hereof:
                            22                                (a)    to pay any obligation owed to any party (other than to Hillair) on
                            23                 account of or relating to services and/or product provided prior to the Petition Date,
                            24                 including without limitation, obligations relating to the provision or sale of goods,
                            25                 materials or services, or obligations on account of purchase orders;
                            26                                (b)    from the sale or disposition of assets of the Debtors outside the
                            27                 ordinary course of business of the Debtors;
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A PROFES SION AL CORPORA T ION                       STIPULATION FOR (1) AUTHORIZATION TO USE CASH COLLATERAL;
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                                 1                          (c)    to pay to or for the benefit of the Debtors or any principal,
                                 2           shareholder, or insider of the Debtor, any management person or entity retained by the
                                 3           Debtors or the Debtors’ estate, whether directly or indirectly, except as expressly
                                 4           approved and agreed in writing by Hillair; or
                                 5                          (d)    in connection with any action or proceeding against Hillair.
                                 6                    3.5   Ordinary Course of Business. Except as otherwise permitted by Court
                                 7   order or as authorized by Hillair, the Debtors shall conduct their business operations in the
                                 8   ordinary course and on ordinary and customary terms consistent with the terms and manner by the
                                 9   Debtors prior to the Petition Date.
                            10                        3.6   Adequate Protection for Use of Cash Collateral. As adequate protection of
                            11       Hillair’s interest in the Cash Collateral, the Debtors shall pay Hillair the sum of $40,000 per week
                            12       commencing on May 15, 2019 and payable on each Wednesday thereafter for the period from
                            13       May 14, 2019 through June 7, 2019. All payments made under this Stipulation shall be made in
                            14       accordance with the terms expressly set forth in the loan documents and in effect before the
                            15       Petition Date.
                            16               4.       Appointment of a Chief Restructuring Officer.
                            17                        4.1   By no later than May 16, 2019, the Debtors shall file an application seeing
                            18       the appointment of a Chief Restructuring Officer (“CRO”), who is acceptable to Hillair, to
                            19       oversee the financial and operational functions of the Debtors, and maintain an oversight role
                            20       over the administration of the Debtors’ bankruptcy cases. The application shall be heard on
                            21       shortened time at a hearing set by the Court for May 28, 2019 at 10:00 a.m. with oppositions to be
                            22       filed and served by no later than May 23, 2019.
                            23                        4.2   The Debtors hereby agree that, subject to entry of an order approving the
                            24       appointment of the CRO, (1) all use of Cash Collateral shall be authorized and approved by the
                            25       CRO; (2) Hillair shall be permitted to obtain financial reporting directly from the Debtors, the
                            26       CRO, the Debtors’ financial advisors or investment banker, and the Debtors’ counsel. The
                            27       financial reporting shall include, among other things, financial statements (including balance
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A PROFES SION AL CORPORA T ION                       STIPULATION FOR (1) AUTHORIZATION TO USE CASH COLLATERAL;
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                                 1   sheets, income statements and statements of cash flow), budget reports, inventory schedules,
                                 2   accounts receivable schedules, accounts payable schedules, pro forma financial statements, bank
                                 3   account statements, payroll reports and any other report respecting the assets, liabilities, financial
                                 4   condition or operation of the Debtors in addition to the reporting specified in Paragraph 8.1 of this
                                 5   Stipulation.
                                 6                    4.3   Subject to the entry of an order approving the appointment of the CRO, the
                                 7   Debtors acknowledge and agree that (1) the CRO shall liaise with the current interim co-CEOs,
                                 8   George Voskanian and Scott Sheikh with respect to the operations and management of the
                                 9   Debtors and the admintraton of the Debtors’ bankruptcy cases; and (2) the duties and
                            10       responsibilities of the CRO shall include the following:
                            11                              (a)     Review and analyze the Debtors and their financial results,
                            12               projections, operational data and compliance with the Budget;
                            13                              (b)     Gain an understanding of the existing contractual arrangements and
                            14               obligations with customers, advisors/consultants and suppliers;
                            15                              (c)     Assist the Debtors in the preparation and approval of the reporting
                            16               specified in Paragraph 8.1 of this Stipulation;
                            17                              (d)     Advise the Debtors with regard to the development and
                            18               implementation of a turnaround and restructuring plan;
                            19                              (e)     Assist the Debtor in managing key constituents, including
                            20               communications and meetings with, and requests for information made by, creditor
                            21               constituents, including secured lenders, vendors, customers and employees;
                            22                              (f)     Oversee key customer relationships;
                            23                              (g)     Provide expert testimony, if required and permitted;
                            24                              (h)     Manage cash forecasting and liquidity management procedures. In
                            25               particular, assume responsibility and oversight of day-to-day cash management and
                            26               initiatives to protect, preserve, and enhance liquidity;
                            27                              (i)     Review and evaluate the go-forward business;
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                                 1                           (j)    Conduct a review and analysis of the existing workforce and direct
                                 2           recruitment of new employees, where and if appropriate; and
                                 3                           (k)    Execute on identified cost saving initiatives.
                                 4                    4.4    The United States Trustee reserves the right to seek the entry of a court
                                 5   order terminating the appointment of the Chief Restructuring Officer for cause shown.
                                 6           5.       Post-Petition Replacement Liens. As additional adequate protection, the Debtors
                                 7   hereby grant Hillair post-petition liens in accordance with the following provision:
                                 8                    5.1    Post-petition Lien Granting. Hillair shall have and is hereby granted by the
                                 9   Debtors, effective as of the Petition Date, a post-petition security interest and replacement lien
                            10       pursuant to sections 361 and 363(e) (the “Post-petition Lien”) in all present and future, prepetition
                            11       and post-petition real and personal property assets in which and to the extent the Debtors hold an
                            12       interest, whether tangible or intangible, including without limitation, all accounts (including post-
                            13       petition accounts receivable arising post-petition notwithstanding the provisions of Section 552),
                            14       chattel paper, deposit accounts, documents, documents of title, goods (including all inventory,
                            15       equipment and fixtures), instruments, investment property (including all certificated and
                            16       uncertificated securities, securities entitlements, securities accounts, commodity contracts and
                            17       commodity accounts), letter of credit rights, money, and general intangibles, all supporting
                            18       obligations and security for any of the foregoing and all proceeds of the foregoing (including all
                            19       distributions made on account of any of the foregoing, all claims arising from the loss,
                            20       nonconformity, or interference with the use of, or defects or infringement of rights in, any of the
                            21       foregoing and any insurance payable by reason of any such loss, nonconformity, interference,
                            22       defects or infringement), and all rents, issues, profits and proceeds thereof (collectively, the
                            23       “Post-petition Collateral”), solely to the extent of any post-petition diminution in value of the
                            24       prepetition assets of the Debtor (the “Prepetition Collateral,” and collectively with the Post-
                            25       petition Collateral, the “Collateral”) which were encumbered by prepetition liens and security
                            26       interests in favor of Hillair securing the Debtors’ obligations owed to Hillair; provided,
                            27       however, with respect to the Debtors’ interest in any unexpired lease of real property, the Post-
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                                 1   petition Lien shall only extend to the Debtors’ rights to the proceeds arising from the assignment,
                                 2   sale, disposition or termination of such lease.
                                 3                    5.2   Post-petition Lien Priority. The Post-petition Lien shall be senior and have
                                 4   priority over all other liens and interests on and in the Collateral, except that the Post-petition
                                 5   Lien shall be junior only to (a) the Prepetition Lien in favor of Hillair and (b) such other valid,
                                 6   existing, and perfected liens or security interests existing as of the Petition Date with respect to
                                 7   such assets existing as of the Petition Date encumbered by such liens, and to the extent such liens
                                 8   or security interests were senior to the Prepetition Lien in favor of Hillair as of the Petition Date
                                 9   and are not otherwise avoided.
                            10                        5.3   Automatic Perfection of Post-petition Lien. The Post-petition Lien shall be
                            11       granted, attached, perfected and validated by virtue of the Order approving this Stipulation,
                            12       without any further act required under federal, state, or local law requiring notice, filing,
                            13       registration, recording, possession or other act to validate or perfect a security interest or lien,
                            14       including without limitation deposit account control agreements, merchant payment agreements,
                            15       merchant payment direction letters, cash transport agreements, and such other agreements with
                            16       any party possessing or asserting an interest in the Collateral (a “Perfection Act”).
                            17       Notwithstanding the foregoing, if Hillair, in its sole discretion, elects to effectuate a Perfection
                            18       Act, Hillair is authorized to perform such act, and if requested by Hillair, the Debtors are
                            19       authorized to perform such act to the extent necessary or required, and in such event, the subject
                            20       filing or recording office or agency is authorized to accept, file, and/or record any document in
                            21       regard to such act in accordance with applicable law. No defect or failure in connection with an
                            22       attempt to perform a Perfection Act shall limit, waive, or alter the validity, enforceability,
                            23       attachment, or perfection of the Post-petition Lien by virtue of entry of the Order approving this
                            24       Stipulation.
                            25                        5.4   Validity and Perfection of Post-petition Lien. Upon entry of the Order
                            26       approving this Stipulation, the Post-petition Lien granted to Hillair by virtue of this Stipulation
                            27       shall be valid, enforceable and perfected without any further act by Hillair.
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A PROFES SION AL CORPORA T ION                       STIPULATION FOR (1) AUTHORIZATION TO USE CASH COLLATERAL;
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                                 1           6.       Segregation of Cash Collateral.
                                 2                    6.1   Segregation of the Cash Collateral.     Unless otherwise agreed upon in
                                 3   writing by Hillair, the Cash Collateral shall be collected, received, maintained, and segregated by
                                 4   the Debtors in trust for Hillair. The Cash Collateral shall be maintained in the accounts separate
                                 5   and apart from any other revenue or property of the Debtors or the Debtors’ estates, shall not be
                                 6   commingled or intermingled with any other income or property of the Debtors or the Debtors’
                                 7   estates not constituting the Cash Collateral, and shall not be used except in accordance with the
                                 8   terms and conditions of this Stipulation.
                                 9                    6.2   Segregated Accounts.      The Debtors shall maintain separate debtor in
                            10       possession accounts (collectively, the “Operating Accounts”) for: (a) operating funds, (b) payroll,
                            11       and (c) taxes. All of the funds in each of the Operating Accounts are Cash Collateral. All cash in
                            12       the Operating Accounts shall remain Cash Collateral and may only be withdrawn in accordance
                            13       with this Stipulation and the attached Budget.
                            14               7.       Insurance.
                            15                        7.1   The Debtors shall maintain and insure the Collateral in sufficient amounts
                            16       to adequately protect Hillair’s interest in such Collateral, and include Hillair as a loss payee in
                            17       accordance with the requirements of the Loan Documents. Debtors shall promptly provide in
                            18       writing evidence of insurance to Hillair.
                            19               8.       Reporting Requirements.
                            20                        8.1   Periodic Reporting Requirements.      The Debtors shall maintain records
                            21       adequate and sufficient to account for the Cash Collateral and expenses, and shall make such
                            22       records available for inspection by Hillair upon 24 hours’ notice. The Debtors shall provide
                            23       Hillair within five (5) business days from the date of the entry of the order approving this
                            24       Stipulation a complete accounting of the Cash Collateral and expenses relating to the Collateral
                            25       from the Petition Date to the date of the entry of the Order approving this Stipulation. The
                            26       Debtors shall (i) timely perform all reporting and other requirements of the Office of the United
                            27       States Trustee, and (ii) provide Hillair with (A) all information and reports as required under the
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      BUCHALTER
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A PROFES SION AL CORPORA T ION                       STIPULATION FOR (1) AUTHORIZATION TO USE CASH COLLATERAL;
        LOS ANG EL ES
                                                        AND (2) APPOINTMENT OF A CHIEF RESTRUCTURING OFFICER
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                                 1   Loan Documents and (B) copies of all documents and papers filed or submitted by the Debtors
                                 2   with the Office of the United States Trustee or with the Court. The Debtors shall further provide
                                 3   the following periodic reports to Hillair:
                                 4                    (a)   a weekly report delivered on each Wednesday at 2:00 p.m. (Pacific
                                 5           Time) for the immediately prior week (ending on Saturday) reflecting actual
                                 6           receipts and expenditures by line item against those set forth in the approved cash
                                 7           collateral budget for such weekly period;
                                 8                    (b)   on each Wednesday at 2:00 p.m. (Pacific Time), an update to the
                                 9           approved cash collateral budget extending the term of the budget for an additional
                            10               week to reflect a rolling 13- week budget;
                            11                        (c)   a current accounts receivable aging covering post-petition
                            12               receivables (with respect to payments received by the Debtors and entered into the
                            13               Debtors’ financial reporting system), on each Wednesday by 2:00 p.m. (Pacific
                            14               Time), and current through the immediately prior week (ending on Saturday);
                            15                        (d)   a current accounts payable aging covering post-petition payables
                            16               (with respect to payables where invoices have been received by the Debtors and
                            17               entered into the Debtors’ financial reporting system), on each Wednesday by 2:00
                            18               p.m. (Pacific Time), and current through the immediately prior week (ending on
                            19               Saturday);
                            20                        (e)   monthly financial statements prepared by the Debtors’ financial
                            21               advisor and/or reviewed by the Chief Restructuring Officer (provided that the fees
                            22               for the same shall be included in the Budget), and such other reports required to
                            23               be delivered by the Debtors pursuant to the loan documents with such financial
                            24               statements being delivered within seven (7) business days following the month
                            25               end closing;
                            26                        (f)   monthly bank account statements to be provided to Hillair on the
                            27               5th business day following the statement closing date;
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      BUCHALTER
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A PROFES SION AL CORPORA T ION                       STIPULATION FOR (1) AUTHORIZATION TO USE CASH COLLATERAL;
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                                 1                    (g)    upon request, on each Thursday at 2:00 p.m. (Pacific Time), a
                                 2           written update regarding the operations of the Debtors, including, without
                                 3           limitation, information regarding (i) relationships with key suppliers, carriers and
                                 4           customers since the Petition Date, and (ii) a written update of the Debtors’ sales
                                 5           and refinancing efforts including, without limitation, potential lenders, buyers,
                                 6           investors, the status of any negotiations and the and terms contemplated, and the
                                 7           likely time frame; and
                                 8                    (h)    copies of all periodic reports provided to the U.S. Trustee on the
                                 9           date that such reports are due.
                            10                        8.2    Outstanding Requests for Documents. The Debtors hereby consent to entry
                            11       of the order granting Hillair Capital Management, LLC’s Motion for Entry of Order Authorizing
                            12       Examination Under Federal Rule of Bankruptcy Procedure 2004 [Docket No. 35] (the “Rule
                            13       2004 Motion”). By no later than 5:00 p.m. PDT on May 20, 2019, the Debtors shall provide to
                            14       Hillair all outstanding documents specified in that certain email dated May 2, 2019 at 1:57 p.m.
                            15       PDT from Anthony J. Napolitano, counsel for Hillair, to Debtors’ counsel. By no later than 9:00
                            16       a.m. PDT on June 3, 2019, the Debtors shall provide to Hillair all outstanding documents
                            17       specified in the Rule 2004 Motion.
                            18                        8.3    Access to Collateral and Records. Within 48 hours of a request of Hillair,
                            19       the Debtors shall permit Hillair or an agent of Hillair, reasonable access to any of the Collateral
                            20       for the purpose of enabling such party to inspect, audit and appraise the Collateral and the
                            21       Debtors’ books and records, and to inspect books and records maintained by any agent of the
                            22       Debtors at the location that those books and records are maintained.
                            23               9.       Section 507(b) Priority.
                            24                        9.1    As additional adequate protection, the Debtors hereby agree and
                            25       acknowledge that, if the protections provided by the liens and security interests under the Loan
                            26       Documents or this Stipulation are later determined inadequate, Hillair shall have an allowed super
                            27       priority administrative claim of the kind and priority specified in section 503(b) or 507(b):
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A PROFES SION AL CORPORA T ION                       STIPULATION FOR (1) AUTHORIZATION TO USE CASH COLLATERAL;
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                                                        AND (2) APPOINTMENT OF A CHIEF RESTRUCTURING OFFICER
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                                 1   (1) with priority over all costs and expenses of administration of the bankruptcy case that are
                                 2   incurred under any provision of the Bankruptcy Code, including, without limitation, sections
                                 3   503(b), 506(c), 507(a), or 522(b); and (2) with the same priority as the Replacement Lien as set
                                 4   forth in this Stipulation.
                                 5           10.      Waiver of Section 506(c) Surcharge.
                                 6                    10.1   Without prejudice to the rights of any other party until such time as a
                                 7   further order is entered granting continued use of cash collateral, based on the authorization of the
                                 8   Debtors’ use of the Cash Collateral pursuant to this Stipulation, the Debtors waive their rights and
                                 9   shall not seek to surcharge the Collateral or Hillair under Section 506(c).
                            10               11.      Forbearance of Remedies.
                            11                        11.1   Providing that there are no defaults hereunder, during the term of this
                            12       Stipulation, and subject to the terms and conditions hereof, Hillair will forbear from exercising
                            13       any of Hillair’s rights and remedies against the Debtors under the Loan Documents.
                            14               12.      Event of Default.
                            15                        12.1   An event of default under this Stipulation (each, a “Default”) shall include
                            16       the following:
                            17                               (a)    The Debtors’ failure to perform or comply with any of the terms of
                            18       this Stipulation or any other order of the Court;
                            19                               (b)    Following the entry of the order approving this Stipulation, any
                            20       material misrepresentation of fact made by any representative of the Debtors to Hillair about the
                            21       Debtors’ business or financial condition or the Collateral;
                            22                               (c)    The granting in favor of any party other than Hillair of a security
                            23       interest in or lien upon any property of the Debtors or the Debtors’ estate, or a claim against the
                            24       Debtors having priority over the security interests, liens or claims in favor of Hillair except to the
                            25       extent that such party had a security interest in or lien upon any property of Debtors on the
                            26       Petition Date which had priority over the security interests, liens or claims of Hillair existing on
                            27       Petition Date;
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      BUCHALTER
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A PROFES SION AL CORPORA T ION                       STIPULATION FOR (1) AUTHORIZATION TO USE CASH COLLATERAL;
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                                 1                           (d)    The Debtors’ failure to perform or comply with their obligations
                                 2   under the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure or of the requirements of
                                 3   the Office of the United States Trustee;
                                 4                           (e)    The termination of this Stipulation by its own terms, operation of
                                 5   law, or Court order;
                                 6                           (f)    The dismissal of the Bankruptcy Case;
                                 7                           (g)    The appointment of a trustee or an examiner under the Bankruptcy
                                 8   Code;
                                 9                           (h)    The conversion of the Bankruptcy Case to a case under another
                            10       chapter of the Bankruptcy Code;
                            11                               (i)    Submission by the Debtors of any chapter 11 plan of reorganization
                            12       inconsistent in any material respect with the terms of this Stipulation;
                            13                               (j)    Failure of the Debtors to comply with the requirements of the
                            14       Office of the United States Trustee; or
                            15                               (k)    The stay, modification, amendment, vacating, or reversal of any
                            16       term herein or Order approving this Stipulation, or any of the rights and acknowledgments
                            17       conferred hereunder, without the express prior written consent of Hillair.
                            18               13.      Rights and Remedies Upon Default.
                            19                        13.1   Effect of Default.    Immediately upon the occurrence of a Default, and
                            20       subject only to voiding the Default, as set forth in paragraph 13.2, all of the following shall be
                            21       deemed to have occurred:
                            22                               (a)    Hillair’s consent regarding the Debtors’ use of the Cash Collateral
                            23       pursuant to this Stipulation is terminated without further notice;
                            24                               (b)    The Debtors shall not use any Cash Collateral for any purpose;
                            25                               (c)    The Debtors shall not seek authority to use any Cash Collateral;
                            26                               (d)    The Debtors shall hold in trust for Hillair, and shall segregate, all
                            27       Cash Collateral in its possession or to come into its possession in the future; and
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A PROFES SION AL CORPORA T ION                       STIPULATION FOR (1) AUTHORIZATION TO USE CASH COLLATERAL;
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                                 1                            (e)    Hillair is granted immediate relief from the automatic stay of
                                 2   Section 362 for cause, without any further notice, motion, hearing, or order, to take any action or
                                 3   exercise of any or all rights and remedies available under the Loan Documents, this Stipulation,
                                 4   or applicable law, including (i) the continuation of the state court receivership and (ii) the
                                 5   commencement and completion of a judicial or non-judicial foreclosure under the Loan
                                 6   Documents. The parties specifically waive the provisions of Rule 4001(a)(3) of the Federal Rules
                                 7   of Bankruptcy Procedure.
                                 8                     13.2   If Default is “Curable.” If the Default is a type that is curable by the
                                 9   Debtors and the Debtors cure the Default within three (3) business days from the date of service
                            10       of such notice of the Default, the Default is voided, and the Debtors may then be allowed to use
                            11       Cash Collateral under the terms and conditions set forth in this Stipulation, and as provided in the
                            12       Budget.
                            13               14.       Cash Collateral Term.
                            14                         14.1   The authorization to use the Cash Collateral pursuant to this Stipulation
                            15       shall terminate as of the earliest of the following (the “Termination Date”):
                            16                                (a)    June 7, 2019;
                            17                                (b)    The occurrence of a Default; or
                            18                                (c)    The occurrence of the Effective Date of a confirmed plan of
                            19       reorganization.
                            20                         14.2   Notwithstanding the occurrence of the Termination Date or a Default, this
                            21       Stipulation may be extended by Hillair and the Debtor by written agreement without further order
                            22       of this Court.
                            23                         14.3   The Parties stipulate and agree to a continued cash collateral hearing to
                            24       occur on June 6, 2019 at 10:00 a.m. in the above-captioned court.
                            25               15.       No Modification or Stay of the Stipulation or Order.
                            26                         15.1   Unless expressly consented to in writing by Hillair, (a) this Stipulation, (b)
                            27       an Order approving this Stipulation, and (c) the rights and remedies of Hillair under the Loan
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A PROFES SION AL CORPORA T ION                        STIPULATION FOR (1) AUTHORIZATION TO USE CASH COLLATERAL;
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                                 1   Documents and this Stipulation, shall not be subject to any stay, modification, alteration,
                                 2   amendment, vacating, or reversal by any order of this Court or other tribunal.
                                 3           16.      Power To Waive Rights; Duties To Third Parties.
                                 4                    16.1   Hillair shall have the right to waive any of the terms, rights, and remedies
                                 5   provided in this Stipulation or the Loan Documents (“Hillair Rights”), and shall have no
                                 6   obligation or duty to any other party with respect to the exercise or enforcement, or failure to
                                 7   exercise or enforce any Hillair Rights. Any waiver by Hillair of any Hillair Rights shall not be or
                                 8   constitute a continuing waiver. Hillair’s delay in or failure of exercising or enforcing any of
                                 9   Hillair Rights shall neither constitute a waiver of such Hillair Rights, subject Hillair to any
                            10       liability to any other party, nor cause or enable any other party to rely upon or in any way seek to
                            11       assert as a defense to any obligations or indebtedness owed to Hillair.
                            12               17.      Reservation of Rights.
                            13                        17.1   This Stipulation is in addition to and without prejudice to Hillair’s right to
                            14       pursue any and all rights and remedies under the Bankruptcy Code, the Loan Documents, and any
                            15       other applicable agreement or law, including seeking an order prohibiting or restricting the
                            16       Debtors’ use of cash collateral, granting further or additional relief from the automatic stay,
                            17       providing for adequate protection, or imposing an injunction, and to object to applications for
                            18       allowance or payment of compensation of professionals retained pursuant to the Bankruptcy
                            19       Code.
                            20               18.      The Debtors’ Acknowledgment.
                            21                        18.1   Notwithstanding any other provision of this Stipulation, the Debtors
                            22       acknowledge and agree that (a) the Obligations are valid and indefeasible obligations of the
                            23       Debtors and their estate, in accordance with their terms; and (b) the liens and security interests in
                            24       favor of Hillair with respect to the Collateral, both prepetition and post-petition, including the
                            25       Cash Collateral, are valid, enforceable, perfected, and unavoidable under the Bankruptcy Code,
                            26       including Section 552, and any other applicable law. The Obligations shall include all reasonable
                            27       attorneys’ fees and costs incurred by Hillair in connection with the representation of Hillair in all
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      BUCHALTER
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A PROFES SION AL CORPORA T ION                       STIPULATION FOR (1) AUTHORIZATION TO USE CASH COLLATERAL;
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                                 1   aspects of this matter, including the enforcement of its rights and remedies under the Loan
                                 2   Documents and the representation of Hillair in all aspects of the Bankruptcy Case.
                                 3           19.       No Action for Purposes of the One Form of Action Rule.
                                 4                     19.1      The Debtors hereby waive each of the provisions of Code of Civil
                                 5   Procedure Sections 726, 580a, 580b or 580d or other similar law which provide for an election of
                                 6   remedies or an “action” to the extent such law is applicable.
                                 7           20.       Notice.
                                 8                     20.1      When notice is required in this Stipulation, it shall be delivered or served
                                 9   upon the parties as follows:
                            10       If to Hillair:                                    Hillair Capital Management, LLC
                                                                                       345 Lorton Avenue, Suite 303
                            11                                                         Burlingame, California 94010
                            12       with a copy to counsel for Hillair, which         Steven M. Spector, Esq.
                                     shall not constitute notice hereunder:            Buchalter, a Professional Corporation
                            13                                                         1000 Wilshire Boulevard, 15th Floor
                                                                                       Los Angeles, California 90017
                            14                                                         Telephone: (213) 891-0700
                                                                                       Facsimile: (213) 896-0400
                            15
                                     If to the Debtors, as applicable:                 Soobeez, Inc.
                            16                                                         3463 Foothill Boulevard
                                                                                       Glendale, California 91214
                            17
                                                                                       Scoobeez Global, Inc.
                            18                                                         3463 Foothill Boulevard
                                                                                       Glendale, California 91214
                            19
                                                                                       Scoobur, LLC
                            20                                                         3463 Foothill Boulevard
                                                                                       Glendale, California 91214
                            21
                                     with a copy to counsel for the Debtors,           Ashley M. McDow, Esq.
                            22       which shall not constitute notice                 Foley & Lardner LLP
                                     hereunder:                                        555 South Flower Street, Suite 3300
                            23                                                         Los Angeles, CA 90071
                                                                                       Telephone: (213) 972-4500
                            24                                                         Facsimile: (213) 486-0065
                            25
                                             21.       Dismissal of Bankruptcy Case.
                            26
                                                       21.1      In the event that any of the Debtors’ bankruptcy cases are dismissed, the
                            27
                                     Debtors shall turnover all Cash Collateral then held in its possession to Hillair within five (5)
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A PROFES SION AL CORPORA T ION                        STIPULATION FOR (1) AUTHORIZATION TO USE CASH COLLATERAL;
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                                                         AND (2) APPOINTMENT OF A CHIEF RESTRUCTURING OFFICER
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                                 1   business days from the date that Hillair provides notice of its turnover demand to the parties
                                 2   specified in paragraph 20. This provision shall survive the termination of this Stipulation, the
                                 3   dismissal of the applicable Bankruptcy Case, and shall be binding on the applicable Debtors and
                                 4   may be enforced under bankruptcy and non-bankruptcy law.
                                 5           22.      No Responsible Person Liability.
                                 6                    22.1   In making decisions or in taking other actions reasonably related to the
                                 7   Debtors’ Cash Collateral Motion or this Stipulation, Hillair shall have no liability to any third
                                 8   party including creditors and equity interest holders of the Debtors. Hillair shall not be deemed to
                                 9   be in control of the operations of the Debtors or to be acting as a “responsible person,” “owner”
                            10       or “operator” with respect to the operation or management of the Debtors.
                            11               23.      No Agreement to Provide Financial Accommodation.
                            12                        23.1   This Stipulation shall not impose any duty or obligation to provide any
                            13       financing or financial accommodation to the Debtors, or to any other entity, to collect, sell, lease
                            14       or otherwise dispose of any of the Collateral, to proceed against any entity, to proceed against or
                            15       exhaust any security, or to otherwise pursue any of Hillair’s Rights.
                            16               24.      Access to the Debtors’ Books and Records.
                            17                        24.1   Hillair shall have full, complete, unqualified and unlimited access to the
                            18       books and records of the Debtors during normal business hours for the purpose of inspection,
                            19       photocopying and audit upon 24 hours’ notice from Hillair to the Debtors.
                            20               25.      Miscellaneous Provisions.
                            21                        25.1   Jointly Negotiated Stipulation.     This Stipulation is the product of
                            22       negotiation among the parties hereto and represents the joint, conceived, bargained for and agreed
                            23       upon language mutually determined by the parties to express their intentions in entering into this
                            24       Stipulation. Any ambiguity or uncertainty herein shall be deemed to be caused by, or attributable
                            25       to, all parties collectively. In any action to enforce or interpret this Stipulation, it shall be
                            26       construed in a neutral manner and no term or condition herein shall be construed more or less
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A PROFES SION AL CORPORA T ION                       STIPULATION FOR (1) AUTHORIZATION TO USE CASH COLLATERAL;
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                                 1   favorably to any one party or groups of parties.        Each party will act in good faith in the
                                 2   performance of its obligations hereunder.
                                 3                    25.2   Consent to Entry of Order. The parties each consent to entry of an order
                                 4   approving this Stipulation.
                                 5                    25.3   Binding Effect. This Stipulation shall be binding upon Hillair and the
                                 6   Debtors and their respective successors and assigns, including any trustee appointed in this
                                 7   Bankruptcy Case or any subsequently converted bankruptcy case of the Debtors. This Stipulation
                                 8   shall also inure to the benefit of Hillair and the Debtors, and their respective successors and
                                 9   assigns.
                            10                        25.4   Counterparts. This Stipulation may be executed in counterparts, and such
                            11       signatures may be by facsimile.
                            12                        25.5   Time of the Essence. Each of the parties expressly acknowledges and
                            13       agrees that time is of the essence and that all dates and time periods provided for in this
                            14       Stipulation are absolute and final.
                            15                        25.6   Survival of Terms. Notwithstanding any term to the contrary herein, with
                            16       the exception of paragraph 21, the terms and conditions of this Stipulation shall apply only during
                            17       the term of this Stipulation prior to the Termination Date, provided, however, that the rights and
                            18       remedies granted Hillair shall survive the term of this Stipulation and Termination Date.
                            19                        25.7   No Benefit to Non-Parties. This Stipulation is not intended, nor shall it be
                            20       construed or deemed to confer any rights, powers or privileges on any entity that is not the
                            21       Debtors, Hillair as express signatories to this Stipulation. Specifically, no benefit is extended to
                            22       any surety or guarantor of the Obligations, and Hillair reserves all of its rights with respect to
                            23       such non-parties. This Stipulation is without prejudice to the rights of any third-party holding
                            24       claims against any of the Debtors.
                            25                        25.8   Further Assurances. Debtor is authorized and shall perform all acts and
                            26       execute and deliver to Bank all agreements, financing statements, instruments or documents as
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A PROFES SION AL CORPORA T ION                       STIPULATION FOR (1) AUTHORIZATION TO USE CASH COLLATERAL;
        LOS ANG EL ES
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                                 1   may be reasonably requested by Bank to effectuate the terms of this Stipulation or as
                                 2   contemplated herein.
                                 3   IT IS SO STIPULATED:
                                 4   DATED: May 16, 2019                      BUCHALTER, a Professional Corporation
                                 5

                                 6                                            By:
                                                                                               STEVEN M. SPECTOR
                                 7                                                           ANTHONY J. NAPOLITANO
                                 8                                                  Attorneys for Secured Creditor Hillair Capital
                                                                                    Management, LLC
                                 9

                            10
                                     DATED: May 22, 2019                      FOLEY & LARDNER, LLP
                            11

                            12
                                                                              By: /s/ Ashley M. McDow
                            13                                                               ASHLEY M. McDOW
                            14                                                      Attorneys for the Debtors
                            15

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Scoobeez, Inc. et al
 4 Week Cash Flow Forecast

                                          Week No.            1              2              3             4
                                                           Forecast       Forecast       Forecast      Forecast     4-Week
                                         Week Ended       5/17/2019      5/24/2019      5/31/2019      6/7/2019      Total
    Beginning Cash                                          1,140,000        766,000        973,000      479,000

    Collections                                               800,000        800,000        800,000      800,000     3,200,000

    Cash Disbursements:
     Fuel                                                      55,000         55,000         55,000       55,000       220,000
     Payroll & Payroll Expenses                             1,057,000            -        1,057,000          -       2,114,000
     Vehicle - Hertz                                              -          460,000        110,000          -         570,000
     Rent & Utilities                                             -              -              -         22,000        22,000
     Insurance                                                    -              -              -        255,000       255,000
     Phones                                                       -           14,000            -         14,000        28,000
     Travel                                                       -           12,000            -         12,000        24,000
     IT Expenses                                               10,000            -           10,000          -          20,000
     Dues & Subscriptions                                         -              -           10,000          -          10,000
     Other Expenses                                            12,000         12,000         12,000       12,000        48,000
    Total Operating Cash Disbursements                      1,134,000        553,000      1,254,000      370,000     3,311,000

    Operating Cash Flow                                      (334,000)       247,000       (454,000)     430,000      (111,000)

    Debt & Non-Operating Payment & Receipts
     Debt Principal                                               -              -              -            -             -
     Debt Interest                                             40,000         40,000         40,000       40,000       160,000
     Bank Fees                                                    -              -              -            -             -
    Debt & Non-Operating Payments                              40,000         40,000         40,000       40,000       160,000

    Bankruptcy Fees
     Debtor Counsel                                               -              -              -            -               -
     Debtor Advisor                                               -              -              -            -               -
     Committee Professionals                                      -              -              -            -               -
     Post Petition US Trustee Fees                                -              -              -            -               -

    Net Total Cash Flow In / (Out)                           (374,000)       207,000       (494,000)     390,000      (271,000)

    Cumulative Cash Flow                                     (374,000)      (167,000)      (661,000)    (271,000)

    Ending Cash Balance                                       766,000        973,000        479,000      869,000
              Case 2:19-bk-14989-WB                    Doc 81 Filed 05/22/19 Entered 05/22/19 15:42:03                                      Desc
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                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411
A true and correct copy of the foregoing document entitled (specify): STIPULATION BETWEEN THE DEBTORS AND
HILLAIR CAPITAL MANAGEMENT FOR (1) AUTHORIZATION TO USE CASH COLLATERAL ON AN INTERIM BASIS; (2)
APPOINTMENT OF A CHIEF RESTRUCTURING OFFICER will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders
and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
05/22/2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
Alvin Mar alvin.mar@usdoj.gov
Ashley M McDow amcdow@foley.com, sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
Rejoy Nalkara rejoy.nalkara@americaninfosource.com
Anthony J Napolitano anapolitano@buchalter.com, IFS_filing@buchalter.com;salarcon@buchalter.com
David L. Neale dln@lnbyb.com
Gregory M Salvato gsalvato@salvatolawoffices.com,
calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
Steven M Spector sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                                                                                Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 05/22/2019, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.

Honorable Julia W. Brand
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382
Los Angeles, CA 90012

                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                         , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
   05/22/2019               Sonia Gaeta                                        /s/ Sonia Gaeta
   Date                     Printed Name                                       Signature


             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                        F 9013-3.1.PROOF.SERVICE
4848-0930-6261.1
